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            EXHIBIT 1
From:    "Engle, Craig" <Craig.Engle@arentfox.com>
To:      "Roman, Eric"Case   1:19-cv-00150-DLF Document
                        <Eric.Roman@arentfox.com>,     Joey Allaham 215-2     Filed 09/15/23 Page 2 of 32
                                                                       <joeyallaham13@gmail.com>
Cc:      "Collins, Nicholas L." <Nicholas.Collins@arentfox.com>, "Farooqui, Mohammed" <Mohammed.Farooqui@arentfox.com>
Subject: Re: Broidy v. Allaham - lastest draft responses to interrogatories and RFAs
Sent:    Wed 12/22/2021 1:08:36 PM (UTC)
2021-12-22 Allaham Responses to Broidys First Irogs (Cov).docx
2021-12-22 DRAFT Allaham Responses to Broidys First RFAs (Cov).docx

I think I have covid. I can work on our stuff but not too early this morning. Maybe around 11.

Sent from my iPhone


          On Dec 22, 2021, at 6:52 AM, Roman, Eric <Eric.Roman@arentfox.com> wrote:


          ﻿
          Craig - we should discuss these as early as possible today, as they must be served by the end of the day. The
          remaining redlines relate to the Jamal issue that Covington brought up, which should simplify our
          discussion. I think we are on the same page with regards to interrogatory no. 10, which should simplify our
          discussion. But we still have to jump on a call with Joey afterwards, and then show the Joint Defense Group
          our final drafts before serving.




          Eric Roman
          Counsel

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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BROIDY CAPITAL
 MANAGEMENT LLC, et al.,
                                                       Case No. 1:19CV150 (DLF)
                 Plaintiffs,

         v.

 NICOLAS D. MUZIN, et al.,

                 Defendants.



    OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST INTERROGATORIES
                    TO DEFENDANT JOSEPH ALLAHAM

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local Civil Rule

26.2(d), Defendant Joseph Allaham, by and through his attorneys, Arent Fox LLP, responds to

Plaintiffs Broidy Capital Management, LLC’s and Elliot Broidy’s (“Plaintiffs’”) First Set of

Interrogatories to Allaham (the “Interrogatories”) as follows:

                                    GENERAL OBJECTIONS

        1.     Allaham objects to the definitions of “Allaham,” “you,” and “your” as overbroad,

in that they purport to include within their scope “all representatives, agents, and any other Person

from whom the information sought is available to [Allaham].” Said definition, as written, seeks

to impose a discovery obligation on persons who are not party to this litigation.

        2.     Allaham objects to the definition of “Qatar” in the RFAs as vague, ambiguous, and

overbroad, in that it includes “affiliated entities,” and unregistered entities within its scope.

        3.     Allaham objects to the definition of “Hacked materials” as vague, ambiguous, and

overbroad because it is defined as materials that were “taken from” Plaintiffs or Associates or

Employees of Plaintiffs without further qualification. Said definition does not specify the manner

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in which said materials were “taken,” and includes within its scope materials that were lawfully

obtained.

       4.      Allaham objects to the Interrogatories to the extent they seek information that is

protected by the attorney-client privilege, the work product immunity or any other applicable

protection or immunity.

       5.      Allaham objects to the Interrogatories to the extent they seek information that is

subject to protection under the Vienna Convention on Diplomatic Relations and/or the Vienna

Convention on Consular Relations. Discovery materials are absolutely protected from disclosure

under the Vienna Conventions, which provide that the documents and information of a diplomatic

mission are “inviolable at any time and wherever they may be.” Vienna Convention on Diplomatic

Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also Vienna

Convention on Consular Relations and Optional Protocol on Disputes, art. 33, Apr. 24, 1963, 21

U.S.T. 77, 596 U.N.T.S. 261, 289 (providing the same inviolability for consular archives). The

Ninth Circuit has also determined that Qatar is immune from suit. See Broidy Capital Mgmt., LLC

v. Qatar, 982 F.3d 582, 586 (9th Cir. 2020). That means not only that Qatar has “immunity from

trial” but also from “the attendant burdens of litigation.” Kilburn v. Socialist People’s Libyan

Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004) (quoting Jungquist v. Sheikh Sultan Bin

Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)).

       6.      Allaham objects to the Interrogatories to the extent they seek information contained

in documents and correspondence that are protected by principles of international comity in light

of Qatar’s interest in maintaining the confidentiality of information that relates to its governmental

policies. See Notice of Interest by Non-Party State of Qatar, ECF No. 66 (Oct. 21, 2021); see also




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Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522, 546

(1987).

                       SPECIFIC RESPONSES TO INTERROGATORIES

          1.      Identify all Persons having knowledge of any fact alleged in the pleadings and, for

each person, please state all facts about which the Person has knowledge and the Person’s last

known address and telephone number.

          ANSWER: Allaham objects to this interrogatory as vague and ambiguous, in that it does
          not specify what “pleadings” it is directed to. To the extent the term “pleadings” includes
          the Complaint and other documents containing allegations drafted by Plaintiffs, Allaham
          objects that in this context the term “fact” is vague and ambiguous. Allaham objects to
          the extent this interrogatory asks him to speculate as to what knowledge Persons other
          than himself have concerning “facts” contained in unspecified pleadings. Allaham is
          only able to identify Persons having knowledge of facts to his defenses in this action.
          Allaham objects that this interrogatory is overbroad and unduly burdensome in that it
          asks for an identification of all Persons having knowledge of any fact alleged in the
          pleadings, and all facts about which the Person has knowledge, without further limitation.

          Subject to and based on these objections, Allaham responds as follows:

               Name                     Contact Address and             Facts About Which the
                                         Telephone Number               Person Has Knowledge
 Joseph Allaham                     Arent Fox LLP                    Allaham has knowledge of
                                    Eric Roman, Esq.                 the scope and nature of the
                                    1301 Avenue of the               work he performed for Qatar,
                                    Americas, 42nd Floor             his lack of involvement in the
                                    New York, NY 10019               alleged hacking described in
                                    (212) 484-3900                   the First Amended
                                                                     Complaint, when he first
                                                                     learned of the alleged
                                                                     hacking, and his lack of any
                                                                     firsthand knowledge
                                                                     concerning the alleged
                                                                     hacking.
 Dr. Nicolas Muzin                  Wiley Rein LLP                   Muzin is expected to have
                                    Stephen J. Obermeier, Esq.       knowledge of the scope and
                                    1776 K Street, N.W.              nature of the work that
                                    Washington, DC 20006             Allaham performed for Qatar.
                                    (202) 719-7000

 Greg Howard                        Walden Macht & Haran LLP         Howard is expected to have
                                    Jeffrey Udell, Esq.              knowledge concerning the
                                                   3
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                            250 Vesey Street             allegations in the First
                            New York, NY 10281           Amended Complaint
                            (212) 335-2030               regarding Howard.
                                                         .
Elliot Broidy               Kasowitz Benson Torres LLP   Mr. Broidy is expected to
                            Henry Brownstein, Esq.       have knowledge of the nature
                            1399 New York Ave., N.W.,    and extent of any pre-lawsuit
                            Suite 201                    investigation concerning the
                            Washington, D.C. 20005       claims against the Defendant
                            (202) 763-3403               Allaham, the decision to
                                                         include Allaham as a named
                                                         defendant in this litigation,
                                                         the allegations made in the
                                                         First Amended Complaint,
                                                         and the results of any forensic
                                                         investigation into the alleged
                                                         hacking described in the First
                                                         Amended Complaint.

Jamal Benomar               Winston & Strawn LLP         Benomar is expected to have
                            Abbe David Lowell, Esq.      knowledge of the scope and
                            200 Park Avenue              nature of Allaham’s work
                            New York, NY 10166           performed for Qatar.
                            (212) 294-6700

Ali Al-Thawadi              TBD                          Ali Al-Thawadi is expected
                                                         to have knowledge of the
                                                         scope and nature of the work
                                                         that Allaham performed for
                                                         Qatar.
Hassan Al-Thawadi           TBD                          Hassan Al-Thawadi is
                                                         expected to have knowledge
                                                         of the scope and nature of the
                                                         work that Allaham performed
                                                         for Qatar.

Dr. Khaled bin Mohamed Al   TBD                          Dr. Khaled bin Mohamed Al
Attiyah                                                  Attiyah is expected to have
                                                         knowledge of the scope and
                                                         nature of the work that
                                                         Allaham performed for Qatar.

Mohammed bin Hamad Al       TBD                          Mohammed bin Hamad Al
Thani                                                    Thani is expected to have
                                                         knowledge of the scope and
                                                         nature of the work that

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                                                                     Allaham performed for Qatar.


       2.      Identify each journalist and reporter with whom you have previously discussed any

topics related to Broidy, and provide the date and substance of the discussion.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory in that the phrase “any topics related to Broidy” is vague,
       ambiguous, and overbroad, in that encompasses information that is irrelevant to Broidy’s
       claims or Allaham’s defenses in this action. Allaham objects to the phrase “previously
       discussed” as overbroad, in that it is unlimited in time and that it does not specify any
       medium for said “discussions.”

       Subject to and based on these objections, Allaham responds that he had oral
       conversations with several journalists or reporters starting after the date Broidy publicly
       identified Allaham in a complaint filed in California on March 26, 2018. The substance
       of the initial discussions were primarily about Broidy’s mischaracterizations about
       Allaham as being involved in the alleged hacking. Subsequent conversations involved
       materials already in the public domain or regarding the lawsuit, and in no instance
       included providing any reporter or journalist with any hacked materials or any analysis of
       the hacked materials. The names of the reporters and the dates of the conversations are
       not known at this time, but Allaham is diligently gathering information to answer this
       interrogatory and will provide responsive information when it becomes available.

       3.      Describe each proposal, report, status update, or any other type of information you

shared with Qatar or others that contained any mention or discussion of Plaintiffs or related entities,

including planned or published media accounts about Broidy, the Hacked Materials, or the Forged

Russian documents at any time between March 1, 2017 and December 31, 2019.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests materials that contained any
       mention or discussion of Plaintiffs or related entities, without further limitation, because
       said request encompasses within its scope information that is irrelevant to Broidy’s
       claims or Allaham’s defenses in this action. Allaham objects to the terms “Hacked
       Materials” and “Forged Russian documents” as being vague, ambiguous, undefined, and
       in that they call for legal conclusions. Allaham objects to this interrogatory to the extent
       that it seeks information protected due to principles of international comity and by the

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       and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham
       objects to this interrogatory to the extent it seeks information protected by the attorney-
       client privilege or the work product immunity.

       Subject to and based on these objections, Allaham responds that he did not at any time
       between March 1, 2017 and December 31, 2019, share any proposal, report, status
       update, or any other type of information with Qatar that contained any mention or
       discussion of Broidy, the Hacked Material or the Forged Russian documents.

       4.      Describe all work you performed for Qatar between March 1, 2017 and December

31, 2019.

       ANSWER:

       Allaham objects to the definition of “you,” as overbroad, in that it purports to include
       within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests a description of all work that
       he performed for Qatar between March 1, 2017 and December 31, 2019, without further
       limitation, and encompasses within its scope information that is irrelevant to Broidy’s
       claims or Allaham’s defenses in this action. Allaham objects to this interrogatory to the
       extent that it requests disclosure of information that is protected by the attorney-client
       privilege or the work product immunity. Allaham objects to this interrogatory because it
       seeks information that is protected from discovery due to principles of international
       comity and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations.

       Subject to and based on these objections, Allaham responds that he performed authorized
       work for Qatar generally from the period of August 2017 to July 2018, as described in
       Lexington Strategies, LLC’s FARA registration statements, which are publicly available
       at https://www.justice.gov/nsd-fara. Allaham further responds that information beyond
       that disclosed in these FARA registration statements is protected from disclosure due to
       principles of international comity and the Vienna Conventions and Qatar’s sovereign or
       diplomatic immunity.

       5.      Describe all payments you received directly or indirectly from Qatar or any of its

agents, affiliates, or related entities between March 1, 2017 and December 31, 2019, including the

date, amount, payor, and reason for each payment.

       ANSWER:



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       Allaham objects to the definition of “you,” as overbroad, in that it purports to include
       within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests a description of all payments
       received directly or indirectly from Qatar within the given time frame, without further
       limitation, and therefore encompasses within its scope information that is irrelevant to
       Broidy’s claims or Allaham’s defenses in this action. Allaham objects to this
       interrogatory to the extent that it requests disclosure of information that is protected by
       the attorney-client privilege or the work product immunity. Allaham objects to this
       interrogatory to the extent that it seeks any information that is protected from discovery
       due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna
       Convention on Consular Relations.

       Subject to and based on these objections, Allaham responds that payments Lexington
       Strategies, LLC received from Qatar for work performed by Allaham for Qatar during the
       specified time period are described in Lexington Strategies, LLC’s FARA registration
       statements, which are publicly available at https://www.justice.gov/nsd-fara. Allaham
       further responds that any additional information about these payments is protected from
       disclosure due to principles of international comity and by the Vienna Conventions and
       Qatar’s sovereign or diplomatic immunity.

       6.      Describe all knowledge you have about plans or efforts to hack the phones,

computers, email accounts, and computer systems of Plaintiffs or related entities from March 1,

2017 until the present.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
       require Allaham to describe “all knowledge” he has about alleged plans or efforts about
       which he has no direct, personal, or first-hand knowledge. For purposes of this response,
       Allaham will define “knowledge” to mean direct, personal, or first-hand knowledge.
       Allaham objects to this interrogatory to the extent that it seeks any information that is
       protected from discovery due to principles of international comity and by Qatar’s
       sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations
       and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July
       2018. Allaham further objects to this interrogatory to the extent it seeks information




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       outside the scope of his personal knowledge or available from materials that are outside
       his possession, custody or control.

       Subject to and based on these objections, Allaham responds that he has no knowledge
       about any plans or efforts to hack the phones, computers, email accounts, and computer
       systems of Plaintiff or any entities related to Plaintiff, from March 1, 2017 to the present.
       Any knowledge he has of such subject matter he heard from Jamal Benomar, or he
       obtained from information he received from news reports or articles, and other publicly
       available sources.

       7.     Describe all knowledge you have about how the media obtained the Hacked

Materials between January 1, 2018 and December 31, 2019.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
       require Allaham to describe “all knowledge” he has about alleged events about which he
       has no direct, personal, or first-hand knowledge. Allaham objects to this interrogatory to
       the extent it seeks information outside the scope of his personal knowledge or available
       from materials that are outside his possession, custody or control. For purposes of this
       response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects to this interrogatory to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and
       by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July
       2018. Allaham further objects to the term “obtained” as vague and ambiguous. Allaham
       objects to the phrase “Hacked Materials” as undefined, vague, ambiguous, and in that it
       calls for legal conclusions.

       Subject to and based on these objections, Allaham responds that he has no knowledge
       about how the media purportedly obtained any allegedly hacked materials during the time
       frame specified.

       8.     Describe all knowledge you have about reporters who may have received

something of value, whether financial or otherwise, in exchange for publishing stories based on

the Hacked Materials.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham

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      objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
      require Allaham to describe “all knowledge” he has about alleged events about which he
      has no direct, personal, or first-hand knowledge. Allaham objects to this interrogatory to
      the extent it seeks information outside the scope of his personal knowledge or available
      from materials that are outside his possession, custody or control. For purposes of this
      response, Allaham will define “knowledge” to mean direct, personal, or first-hand
      knowledge. Allaham objects to the term “something of value” as vague and ambiguous.
      Allaham objects to the phrase “Hacked Materials” as undefined, vague, ambiguous, and
      in that it calls for legal conclusions. Allaham objects to this interrogatory to the extent
      that it seeks any information that is protected from discovery due to principles of
      international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
      Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
      Allaham will not disclose information regarding his authorized activity for Qatar between
      August 2017 to July 2018.

      Subject to and based on these objections, Allaham responds that he has no knowledge
      about any payment or other “thing of value” that may have been given to reporters in
      exchange for publishing stories about the alleged hack.

      9.     Describe all knowledge you have about the identities and roles of each person

involved with the creation, modification, or dissemination of the Forged Russian documents

between March 1, 2017, and May 31, 2018.

      ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
      include within its scope “all representatives, agents, and any other Person from whom the
      information sought is available to [Allaham].” Said definition, as written, seeks to
      impose a discovery obligation on persons who are not party to this litigation. Allaham
      objects to this interrogatory as overbroad and unduly burdensome, in that it purports to
      require Allaham to describe “all knowledge” he has about alleged events about which he
      has no direct, personal, or first-hand knowledge. Allaham objects to this interrogatory to
      the extent it seeks information outside the scope of his personal knowledge or available
      from materials that are outside his possession, custody or control. For purposes of this
      response, Allaham will define “knowledge” to mean direct, personal, or first-hand
      knowledge. Allaham objects to the term “obtained” as vague and ambiguous. Allaham
      objects to the phrase “Forged Russian documents” as undefined, vague, ambiguous, and
      in that it calls for legal conclusion. Allaham objects to this interrogatory to the extent that
      it seeks any information that is protected from discovery due to principles of international
      comity and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
      Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham will
      not disclose information regarding his authorized activity for Qatar between August 2017
      to July 2018.

      Subject to and based on these objections, Allaham responds that he has no knowledge of
      the identities or roles of any person involved with the creation of the so-called “Forged
      Russian Documents,” and does not know what the Plaintiff is referring to regarding

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       Forged Russian Documents, except what he has learned through the course of these
       proceedings.

       10.     Describe all meetings you have had with non-Qatari citizen agents or

representatives of Qatar, including the dates of the meetings, the names of those present, and the

subjects discussed, between March 1, 2017 and December 31, 2019.

       ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
       include within its scope “all representatives, agents, and any other Person from whom the
       information sought is available to [Allaham].” Said definition, as written, seeks to
       impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this interrogatory as overbroad in that it requests a description of all meetings
       with non-Qatari citizen agents or representatives of Qatar within the given time frame,
       without further limitation, and therefore encompasses within its scope information that is
       irrelevant to Broidy’s claims or Allaham’s defenses in this action. Allaham objects to the
       phrase “non-Qatari citizen agents or representatives of Qatar” as vague, ambiguous, and
       calling for legal conclusions. Allaham objects to this interrogatory to the extent it seeks
       information outside the scope of his personal knowledge or available from materials that
       are outside his possession, custody or control. Allaham objects to this interrogatory in
       that it seeks information that is irrelevant to Broidy’s claims or Allaham’s defenses in this
       action. Allaham objects to this interrogatory to the extent that it seeks any information
       that is protected from discovery due to principles of international comity and by Qatar’s
       sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations
       and the Vienna Convention on Consular Relations.

       Subject to and based on these objections, Allaham responds that between August 2017
       and December 2018, he had meetings with Nick Muzin. While Allaham does not recall
       the exact details of those meetings, the subject matter of those meetings between August
       2017 and July 17, 2018 generally comprised Allaham’s authorized work for Qatar as
       described in Lexington Strategies, LLC’s FARA Registrations Statements, which are
       publicly available on Justice Department’s FARA registration website, located at
       https://www.justice.gov/nsd-fara. Allaham will not provide further information about the
       substance of meetings between himself and Nick Muzin concerning work for Qatar that
       took place between September 18, 2017 and July 17, 2018, as such discussions are
       protected from disclosure due to principles of international comity and by Qatar’s
       sovereign or diplomatic immunity and the Vienna Conventions. After July 17, 2018, the
       substance of Allaham’s meetings with Nick Muzin generally comprised Allaham’s
       authorized work for Qatar, Broidy’s litigation in the U.S. District Court for the Central
       District of California, and the payment of fees owed to Allaham.

       Allaham further responds that between August 2017 and December 2018, he had
       meetings with Jamal Benomar. While Allaham does not recall the exact details of those
       meetings, the subject matter generally comprised Allaham’s authorized work on behalf of
       Qatar, Broidy’s litigation in the U.S. District Court for the Central District of California,
       and the payment of fees owed to Allaham. At one meeting between Allaham and

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       Benomar in February 2018, Allaham learned from Benomar that the alleged hacking of
       Broidy was underway.                                                                           Commented [A1]: We are still refining the response to this
                                                                                                      interrogatory, but happy to discuss.
       11.     Describe all non-profit entities in which you have had administrative or signature     Commented [A2]: Non-responsive because Benomar was
                                                                                                      not a Qatari agent or representative.
authority and all businesses in which you have owned at least 10% from March 31, 2017 to the

present, as well as the names of your business partners and investors in those ventures.

        ANSWER: Allaham objects to the definition of “you,” as overbroad, in that it purports to
        include within its scope “all representatives, agents, and any other Person from whom the
        information sought is available to [Allaham].” Said definition, as written, seeks to impose
        a discovery obligation on persons who are not party to this litigation. Allaham objects to
        this interrogatory in that it seeks information that is irrelevant to Broidy’s claims or
        Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham responds that he has no administrative

or signature authority with respect to any non-profit entity. Allaham further responds that the

following is a list of businesses in which he owned at least a 10% stake from March 31, 2017 to

the present, and the names of his business partners:

                     Name                                       Business partners

 Lexington Strategies, LLC                        Lauren Allaham

 Madison Global Strategies, LLC                   Lauren Allaham




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Dated: December 22, 2021
       Washington, D.C.             /s/ Randall A. Brater
                                    Randall A. Brater (D.C. Bar # 475419)
                                    randall.brater@arentfox.com
                                    ARENT FOX LLP
                                    1717 K Street NW
                                    Washington, DC 20006
                                    Phone: (202) 857-6000

                                    Eric Roman (pro hac vice)
                                    eric.roman@arentfox.com
                                    Mohammed T. Farooqui (pro hac vice)
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                                    Phone: (212) 484-3900

                                    Counsel for Defendant Joseph Allaham




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                                         VERIFICATION

        I, Joseph Allaham, state that I have read PLAINTIFFS’ FIRST INTERROGATORIES

TO DEFENDANT JOSEPH ALLAHAM, and my answers to those interrogatories, which are

true to the best of my knowledge, information, and belief. I declare under penalty of perjury that

the foregoing is true and correct.




Dated                                                        Joseph Allaham




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                   )
BROIDY CAPITAL                     )
MANAGEMENT LLC, et al.,            )
                                   )
           Plaintiffs,             )
                                   )                   Case No. 1:19CV150 (DLF)
      v.                           )
                                   )
NICOLAS D. MUZIN, et al.,          )
                                   )
           Defendants.             )
__________________________________ )

      OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST REQUESTS FOR
              ADMISSIONS TO DEFENDANT JOSEPH ALLAHAM

        Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure and Local Civil Rule

26.2(d), Defendant Joseph Allaham (“Allaham”), by and through his attorneys, Arent Fox LLP,

responds to Plaintiffs Broidy Capital Management, LLC’s and Elliot Broidy’s (“Plaintiffs’”) First Set of

Requests for Admission (the “RFAs”) as follows:


                                    GENERAL OBJECTIONS

       1.      Allaham objects to the definitions of “Allaham,” “you,” and “your” in the RFAs as

overbroad, in that they purport to include within their scope “all representatives, agents, and any

other Person from whom the information sought is available to [Allaham].” Said definition, as

written, seeks to impose a discovery obligation on persons who are not party to this litigation.

       2.      Allaham objects to the definition of “Qatar” in the RFAs as vague, ambiguous,

and overbroad, in that it includes “affiliated entities,” and unregistered entities within its scope.

       3.      Allaham objects to the definition of “Hacked materials” as vague, ambiguous, and

overbroad because it is defined as materials that were “taken from” Plaintiffs or Associates or

Employees of Plaintiffs without further qualification. Said definition does not specify the manner
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in which said materials were “taken,” and includes within its scope materials that were lawfully

obtained.

       4.      Allaham objects to the RFAs to the extent they seek information that is protected

by the attorney-client privilege, the work product immunity or any other applicable protection or

immunity.

       5.      Allaham objects to the RFAs to the extent they seek information that is subject to

protection under the Vienna Convention on Diplomatic Relations and/or the Vienna Convention

on Consular Relations. Discovery materials are absolutely protected from disclosure under the

Vienna Conventions, which provide that the documents and information of a diplomatic mission

are “inviolable at any time and wherever they may be.” Vienna Convention on Diplomatic

Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, 108; see also Vienna

Convention on Consular Relations and Optional Protocol on Disputes, art. 33, Apr. 24, 1963, 21

U.S.T. 77, 596 U.N.T.S. 261, 289 (providing the same inviolability for consular archives). The

Ninth Circuit has also determined that Qatar is immune from suit. See Broidy Capital Mgmt.,

LLC v. Qatar, 982 F.3d 582, 586 (9th Cir. 2020). That means not only that Qatar has “immunity

from trial” but also from “the attendant burdens of litigation.” Kilburn v. Socialist People’s

Libyan Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004) (quoting Jungquist v. Sheikh

Sultan Bin Khalifa Al Nahyan, 115 F.3d 1020, 1026 (D.C. Cir. 1997)).

       6.      Allaham objects to the RFAs to the extent they seek information contained in

documents and correspondence that are protected by principles of international comity in light of

Qatar’s interest in maintaining the confidentiality of information that relates to its governmental

policies. See Notice of Interest by Non-Party State of Qatar, ECF No. 66 (Oct. 21, 2021); see

also Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S.

522, 546 (1987).

       7.      Allaham reserves his right to supplement or correct his answers to these RFAs.
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                           SPECIFIC RESPONSES TO THE RFAS

       1.     Admit that you possessed documents, including emails, taken from Broidy.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the phrase
       “taken from” is vague and ambiguous, in that it does not specify how said documents were
       purportedly “taken.” Allaham objects to this RFA in that it calls for a legal conclusion.
       Allaham objects to this RFA to the extent the documents referenced were publicly
       available. Allaham objects to this request to the extent that it seeks any information that is
       protected from discovery due to principles of international comity and by Qatar’s sovereign
       or diplomatic immunity and the Vienna Convention on Diplomatic Relations and the
       Vienna Convention on Consular Relations. Allaham will not disclose information
       regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
       objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
       defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       2.     Admit that you viewed documents from the Hacked materials, including emails

before they were published by the media.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the terms
       “viewed” and “published” are vague and ambiguous. Allaham objects to the phrase
       “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as materials
       that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects to this RFA in that it calls for legal conclusions. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       3.     Admit that you viewed documents from the Hacked materials, including emails,

which were never published by the media or otherwise made publicly-available.

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       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the terms
       “viewed” and “published” are vague and ambiguous. Allaham objects to the phrase
       “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as materials
       that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects to this RFA in that it calls for legal conclusions. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
       information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       4.      Admit that you sent documents taken from Plaintiffs or related entities to one or

more journalists.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects that the phrase
       “taken from” is vague and ambiguous, in that it does not specify how said documents were
       purportedly “taken.” Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and by
       Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects to this RFA in that it calls for legal conclusions. Allaham objects that this
       RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this
       action.

       Subject to and based on these objections, this RFA is denied.

       5.      Admit that you had prior knowledge of the hacking of Plaintiffs’ computers, email

accounts, and computer systems as described in the First Amended Complaint before the first

news article based on Hacked materials was published on March 1, 2018.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
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       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
       “prior knowledge” as vague and ambiguous. For purposes of this response, Allaham will
       define “prior knowledge” to mean direct, personal, or first-hand knowledge. Allaham
       objects to this request to the extent that it seeks any information that is protected from
       discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
       immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
       on Consular Relations. Allaham will not disclose information regarding his authorized
       activity for Qatar between August 2017 to July 2018. Allaham further objects to the phrase
       “Hacked materials” as vague, ambiguous, and overbroad, in that it is defined as materials
       that were “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects that this RFA seeks information that is irrelevant to
       Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied. Allaham admits that he heard
       about the alleged hacking efforts before March 1, 2018, but otherwise denies this RFA.

       6.     Admit that you have non-public knowledge of the hacking of Plaintiffs’

computers, email accounts, and computer systems as described in the First Amended Complaint.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase “non-
       public knowledge of the hacking” as vague and ambiguous, and in that it calls for legal
       conclusions. For purposes of this response, Allaham will define “knowledge” to mean
       direct, personal, or first-hand knowledge. Allaham objects to this request to the extent that
       it seeks any information that is protected from discovery due to principles of international
       comity and by Qatar’s sovereign or diplomatic immunity and the Vienna Convention on
       Diplomatic Relations and the Vienna Convention on Consular Relations. Allaham will not
       disclose information regarding his authorized activity for Qatar between August 2017 to
       July 2018. Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’
       claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       7.     Admit that you had knowledge of the hacking of computers, email accounts,

computer systems, or phones of Amb. Yousef Otaiba prior to the date on which the first news

article was published, on or around June 3, 2017, based on materials purportedly obtained during

hacking efforts that targeted Amb. Otaiba.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
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       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrases
       “knowledge of the hacking of . . . Amb. Yousef Otaiba” and “hacking efforts that targeted
       Amb. Otaiba” as vague and ambiguous, and in that they call for legal conclusions. For
       purposes of this response, Allaham will define “knowledge” to mean direct, personal, or
       first-hand knowledge. Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and by
       Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or
       Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       8.     Admit that you have non-public knowledge of Qatar’s involvement in the hacking

of computers, email accounts, computer systems, or phones of Amb. Yousef Otaiba, including

but not limited to hacking efforts that intercepted communications of American citizens.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects to the phrase “knowledge of Qatar’s involvement in the
       hacking” as vague and ambiguous, and in that it calls for a legal conclusion. For purposes
       of this response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects to this request to the extent that it seeks any information that
       is protected from discovery due to principles of international comity and by Qatar’s
       sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations and
       the Vienna Convention on Consular Relations. Allaham will not disclose information
       regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
       objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
       defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       9.     Admit that you have knowledge of Qatar’s involvement in the hacking of

computers, email accounts, computer systems, or phones of other American citizens besides

Broidy and his Employees and Associates.

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       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects to the phrase “knowledge of Qatar’s involvement in the
       hacking” as vague and ambiguous, and in that it calls for a legal conclusion. For purposes
       of this response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects to this request to the extent that it seeks any information that
       is protected from discovery due to principles of international comity and by Qatar’s
       sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations and
       the Vienna Convention on Consular Relations. Allaham will not disclose information
       regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
       objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
       defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       10.    Admit that you have knowledge of one or more of the parties involved in creating

or modifying the Forged Russian documents.                                                              Commented [A1]: May suggest objecting to the premise
                                                                                                        of there being forged documents.
       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to this request to
       the extent that it seeks any information that is protected from discovery due to principles of
       international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
       Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
       Allaham will not disclose information regarding his authorized activity for Qatar between
       August 2017 to July 2018. Allaham objects to the phrases “knowledge of” and
       “involvement in creating or modifying” as vague and ambiguous. For purposes of this
       response, Allaham will define “knowledge” to mean direct, personal, or first-hand
       knowledge. Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’
       claims or Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       11.    Admit that you have knowledge of one or more of the parties involved in

disseminating the Forged Russian documents, or who were otherwise working with media outlets

who were in possession of the Forged Russian documents.



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       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrases
       “knowledge of” and “involvement in disseminating” as vague and ambiguous. For
       purposes of this response, Allaham will define “knowledge” to mean direct, personal, or
       first-hand knowledge. Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and by
       Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or
       Allaham’s defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       12.     Admit that you have knowledge of efforts after the filing of the First Amended

Complaint to hack the phones, computers, email accounts, or computer systems of Plaintiffs or

any of Broidy’s associates or employees.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
       “knowledge of efforts” as vague and ambiguous. For purposes of this response, Allaham
       will define “knowledge” to mean direct, personal, or first-hand knowledge. Allaham
       objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
       defenses in this action.

       Subject to and based on these objections, this RFA is denied.

       13.     Admit that you have knowledge of non-Qatari citizen agents or representatives of

Qatar who were involved in the hacking of the phones, computers, email accounts, or computer

systems of Plaintiffs or any of Plaintiff’s Associates, Employees, or Broidy’s wife, Robin

Rosenzweig.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
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       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time and
       encompasses knowledge based on publicly available information. Allaham objects to the
       phrase “knowledge of” as vague and ambiguous. Allaham objects to the phrase “involved
       in the hacking of” as vague, ambiguous, and in that it calls for a legal conclusion. For
       purposes of this response, Allaham will define “knowledge” to mean direct, personal, or
       first-hand knowledge. Allaham objects to this request to the extent that it seeks any
       information that is protected from discovery due to principles of international comity and by
       Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
       Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
       information regarding his authorized activity for Qatar between August 2017 to July 2018.
       Allaham objects to the phrase “non-Qatari citizen agents or representatives of Qatar” as
       vague and ambiguous and in that it calls for a legal conclusion. Allaham objects that this
       RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this
       action.

       Subject to these objections, Allaham admits that he is aware of non-Qatari agents or
       representatives of Qatar who were involved in the alleged hacking. Subject to and based on
       these objections, Allaham otherwise denies this RFA.


       14.    Admit that you have knowledge of non-Qatari citizen agents or representatives of

Qatar who were involved in the creation or modification of the Hacked materials, as described in

the First Amended Complaint.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time and
       encompasses knowledge based on publicly available information. Allaham objects to the
       phrases “knowledge of,” “involved in,” and “creation or modification” as vague and
       ambiguous. For purposes of this response, Allaham will define “knowledge” to mean
       direct, personal, or first-hand knowledge. Allaham objects to the phrase “non-Qatari citizen
       agents or representatives of Qatar” as vague and ambiguous and in that it calls for a legal
       conclusion. Allaham objects to this request to the extent that it seeks any information that is
       protected from discovery due to principles of international comity and by Qatar’s sovereign
       or diplomatic immunity and the Vienna Convention on Diplomatic Relations and the
       Vienna Convention on Consular Relations. Allaham will not disclose information
       regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
       objects to the phrase “Hacked materials” as vague, ambiguous, and overbroad, in that it is
       defined as materials that were “taken from” Plaintiffs or Associates or Employees of
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       Plaintiffs without further qualification. Allaham objects that this RFA seeks information
       that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham denies this RFA.

       15.    Admit that you have knowledge of non-Qatari citizen agents or representatives of

Qatar who were involved in disseminating the Hacked materials to the media or anyone else, or

who were otherwise working with media outlets who were in possession of the Hacked materials

as described in the First Amended Complaint.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition of
       “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
       unregistered agents within its scope, which are entities about which Allaham has no
       knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time and
       encompasses knowledge based on publicly available information. Allaham objects to this
       request to the extent that it seeks any information that is protected from discovery due to
       principles of international comity and by Qatar’s sovereign or diplomatic immunity and the
       Vienna Convention on Diplomatic Relations and the Vienna Convention on Consular
       Relations. Allaham will not disclose information regarding his authorized activity for Qatar
       between August 2017 to July 2018. Allaham objects to the phrases “knowledge of,” and
       “involved in disseminating,” as vague and ambiguous. Allaham objects to the phrase “non-
       Qatari citizen agents or representatives of Qatar” as vague and ambiguous and in that it calls
       for a legal conclusion. For purposes of this response, Allaham will define “knowledge” to
       mean direct, personal, or first-hand knowledge. Allaham objects to the phrase “Hacked
       materials” as vague, ambiguous, and overbroad, in that it is defined as materials that were
       “taken from” Plaintiffs or Associates or Employees of Plaintiffs without further
       qualification. Allaham objects that this RFA seeks information that is irrelevant to
       Plaintiffs’ claims or Allaham’s defenses in this action.

       Subject to and based on these objections, Allaham admits that he is aware of non-Qatari
       agents of Qatar who were involved in providing materials obtained from the alleged
       hacking to the media. Allaham otherwise denies this RFA.

       16.    Admit that you have previously communicated with GRA.

       ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
       purports to include within its scope “all representatives, agents, and any other Person from
       whom the information sought is available to [Allaham].” Said definition, as written, seeks
       to impose a discovery obligation on persons who are not party to this litigation. Allaham
       objects to this RFA in that it seeks discovery that goes beyond the scope of what is
       permissible under the Federal Rules of Civil Procedure. Allaham objects to this request to
       the extent that it seeks any information that is protected from discovery due to principles of
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         international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
         Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
         Allaham will not disclose information regarding his authorized activity for Qatar between
         August 2017 to July 2018. Allaham objects that this RFA is overbroad in that it is not
         limited in time. Allaham objects that this RFA seeks information that is irrelevant to
         Plaintiffs’ claims or Allaham’s defenses in this action.

         Subject to and based on these objections, this RFA is denied.

         17.    Admit that you have previously discussed Broidy with Qatar.

         ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
         purports to include within its scope “all representatives, agents, and any other Person from
         whom the information sought is available to [Allaham].” Said definition, as written, seeks
         to impose a discovery obligation on persons who are not party to this litigation. Allaham
         objects to this RFA in that it seeks discovery that goes beyond the scope of what is
         permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
         of “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
         unregistered agents within its scope, which are entities about which Allaham has no
         knowledge. Allaham objects to this request to the extent that it seeks any information that
         is protected from discovery due to principles of international comity and by Qatar’s
         sovereign or diplomatic immunity and the Vienna Convention on Diplomatic Relations and
         the Vienna Convention on Consular Relations. Allaham will not disclose information
         regarding his authorized activity for Qatar between August 2017 to July 2018. Allaham
         objects that this RFA is overbroad in that it is not limited in time. Allaham objects that this
         RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this
         action. Allaham also objects to this RFA as it seeks information that is protected from
         disclosure by Qatar’s sovereign immunity and the Vienna Conventions.

         Subject to and based on these objections, this RFA is denied.

         18.    Admit that you performed work relating to Broidy in exchange for payment from

Qatar.

         ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
         purports to include within its scope “all representatives, agents, and any other Person from
         whom the information sought is available to [Allaham].” Said definition, as written, seeks
         to impose a discovery obligation on persons who are not party to this litigation. Allaham
         objects to this RFA in that it seeks discovery that goes beyond the scope of what is
         permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
         of “Qatar” as overbroad in that it includes “sovereign wealth funds,” “affiliated entities,”
         and “agents, whether registered or unregistered” within its scope. Allaham objects that this
         RFA is overbroad in that it is not limited in time. Allaham objects that this RFA seeks
         information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.
         Allaham objects to the phrases “work,” “relating to Broidy” and “in exchange for payment
         from Qatar” as vague and ambiguous. Allaham also objects to this RFA as it seeks
         information that is protected from disclosure due to principles of international comity and
         by Qatar’s sovereign immunity and the Vienna Conventions.
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        Subject to and based on these objections, Allaham admits that the work he performed for
        the benefit of Qatar is described in Lexington Strategies LLC’s FARA registration.
        Allaham otherwise denies the this RFA.

        19.     Admit that you performed work relating to Broidy in exchange for payment from

others besides the State of Qatar and Blue Fort Public Relations, LLC.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
        of “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
        unregistered agents within its scope, which are entities about which Allaham has no
        knowledge. Allaham objects that this RFA is overbroad in that it is not limited in time.
        Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or
        Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        20.     Admit that Broidy was discussed at meetings at which you were present with other

non-Qatari citizens at the Qatar Embassy in Washington, D.C.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the definition
        of “Qatar” as vague, ambiguous and overbroad, in that it includes “affiliated entities,” and
        unregistered agents within its scope, which are entities about which Allaham has no
        knowledge. Allaham objects that this RFA seeks information that is irrelevant to Plaintiffs’
        claims or Allaham’s defenses in this action. Allaham objects to this request to the extent
        that it seeks any information that is protected from discovery due to principles of
        international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
        Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
        Allaham will not disclose information regarding his authorized activity for Qatar between
        August 2017 to July 2018.

        Subject to and based on these objections, this RFA is denied.

        21.     Admit that you have communicated with journalists about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
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        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with journalists about Broidy” as vague and ambiguous. Allaham objects
        that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses
        in this action.

        Subject to and based on these objections, Allaham admits that he communicated with
        journalists prior to the filing of this lawsuit, but only regarding publicly available
        information and after the filing of the Broidy action in the Central District of
        California. Allaham otherwise denies this RFA.

        22.     Admit that you have communicated with Jamal Benomar about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Jamal Benomar about Broidy” as vague and ambiguous. Allaham
        objects that this RFA seeks information that is irrelevant to Plaintiffs’ claims or Allaham’s
        defenses in this action. Allaham objects to this request to the extent that it seeks any
        information that is protected from discovery due to principles of international comity and by
        Qatar’s sovereign or diplomatic immunity and the Vienna Convention on Diplomatic
        Relations and the Vienna Convention on Consular Relations. Allaham will not disclose
        information regarding his authorized activity for Qatar between August 2017 to July 2018.

        Subject to and based on these objections, this RFA is admitteddenied.                            Commented [A2]: If this was only during the period of
                                                                                                         FARA registration, should be a denial
        23.     Admit that you have communicated with Ahmad Nimeh about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Ahmad Nimeh about Broidy” as vague and ambiguous. Allaham
        objects to this request to the extent that it seeks any information that is protected from
        discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
        immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
        on Consular Relations. Allaham will not disclose information regarding his authorized

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        activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
        information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        24.        Admit that you have communicated with Patrick Theros about Broidy prior to the

filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Patrick Theros about Broidy” as vague and ambiguous. Allaham
        objects to this request to the extent that it seeks any information that is protected from
        discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
        immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
        on Consular Relations. Allaham will not disclose information regarding his authorized
        activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
        information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        25.        Admit that you have communicated with Howard about Broidy prior to the filing

of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Howard about Broidy” as vague and ambiguous. Allaham objects to
        this request to the extent that it seeks any information that is protected from discovery due
        to principles of international comity and by Qatar’s sovereign or diplomatic immunity and
        the Vienna Convention on Diplomatic Relations and the Vienna Convention on Consular
        Relations. Allaham will not disclose information regarding his authorized activity for Qatar
        between August 2017 to July 2018. Allaham objects that this RFA seeks information that is
        irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        26.        Admit that you have communicated with Muzin about Broidy prior to the filing of

this lawsuit.


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        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Muzin about Broidy” as vague and ambiguous. Allaham objects to
        this request to the extent that it seeks any information that is protected from discovery due
        to principles of international comity and by Qatar’s sovereign or diplomatic immunity and
        the Vienna Convention on Diplomatic Relations and the Vienna Convention on Consular
        Relations. Allaham will not disclose information regarding his authorized activity for Qatar
        between August 2017 to July 2018. Allaham objects that this RFA seeks information that is
        irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is admitteddenied.                            Commented [A3]: Aware of Covington’s comment that
                                                                                                         these would be covered by the Vienna Convention as agent-
        27.     Admit that you have communicated with Tucker Eskew about Broidy prior to the             to-agent communications. Happy to discuss.
                                                                                                         Commented [A4R3]: Same approach.
filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to the phrase
        “communicated with Tucker Eskew about Broidy” as vague and ambiguous. Allaham
        objects to this request to the extent that it seeks any information that is protected from
        discovery due to principles of international comity and by Qatar’s sovereign or diplomatic
        immunity and the Vienna Convention on Diplomatic Relations and the Vienna Convention
        on Consular Relations. Allaham will not disclose information regarding his authorized
        activity for Qatar between August 2017 to July 2018. Allaham objects that this RFA seeks
        information that is irrelevant to Plaintiffs’ claims or Allaham’s defenses in this action.

        Subject to and based on these objections, this RFA is denied.

        28.     Admit that you have communicated with Krista Madaio about Broidy, any Broidy

Associate, or Broidy’s wife, Robin Rosenzweig, prior to the filing of this lawsuit.

        ANSWER: Allaham objects that the definition of “you” in this RFA is overbroad in that it
        purports to include within its scope “all representatives, agents, and any other Person from
        whom the information sought is available to [Allaham].” Said definition, as written, seeks
        to impose a discovery obligation on persons who are not party to this litigation. Allaham
        objects to this RFA in that it seeks discovery that goes beyond the scope of what is
        permissible under the Federal Rules of Civil Procedure. Allaham objects to this request to
        the extent that it seeks any information that is protected from discovery due to principles of
        international comity and by Qatar’s sovereign or diplomatic immunity and the Vienna
        Convention on Diplomatic Relations and the Vienna Convention on Consular Relations.
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Allaham will not disclose information regarding his authorized activity for Qatar between
August 2017 to July 2018. Allaham objects to the phrase “communicated with Krista
Madaio about Broidy, any Broidy Associate, or Broidy’s wife, Robin Rosenzweig” as
vague and ambiguous. Allaham objects that this RFA seeks information that is irrelevant to
Plaintiffs’ claims or Allaham’s defenses in this action.

Subject to and based on these objections, this RFA is denied.




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Dated: December 22, 2021

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